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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

JOY BANNER, Ph.D.                                                     CIVIL ACTION

VERSUS                                                                NO. 23-7296-NJB-KWR

MICHAEL WRIGHT, individually and in official                          SECTION: “G”(4)
capacity, et al.

                                    Declaration of William Most

        I have personal knowledge of the matters stated in this declaration and could competently

testify to the same if called upon to do so.

        1.      My name is William Most. I am an attorney based in New Orleans, LA. I

represent Plaintiff in the above-captioned case.

        2.      On December 4, 2024, I received the text messages at issue in this motion.

        3.      The text messages were clearly responsive to Request for Production No. 5, even

though Defendant Hotard had sworn under oath that “No such documents exist.”

        4.      On December 5, 2024, I wrote to Defendants’ counsel to confer about whether

Ms. Hotard should be sanctioned for her discovery violation and perjury.

        5.      On December 9, 2024, Defendants’ counsel called me. A memorialization of our

conversation is included as Exhibit O to this Motion.

        6.      In that conference, Defendants’ counsel opposed both of the remedies sought in

this Motion.

        7.      In that conference, Defendants’ counsel had no explanation for his client’s failure

to produce the text messages, other than to speculate that perhaps her phone automatically

deletes text messages. I pointed out that if true, that would be a spoliation issue. (Exhibits F to N

are all text messages sent after the filing of this suit.)

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          8.     I certify that the movant has in good faith conferred or attempted to confer with

the person or party failing to make disclosure or discovery in an effort to obtain it without court

action.


          I swear under penalty of perjury that the foregoing is true and correct.

                                                /s/ William Most
                                                William Most (La. Bar No. 36914)




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